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 1                                                 THE HONORABLE RICARDO S. MARTINEZ
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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE
 8   DOUGLAS LACY, on behalf of himself and   Case No. 3:19-cv-05007-RSM
     all others similarly situated,
 9                                            JOINT STATUS REPORT AND REQUEST
                                              TO SUBMIT CASE MANAGEMENT
10                        Plaintiff,
                                              PROPOSAL AND ORDER
11         v.

12   COMCAST CABLE COMMUNICATIONS,
     LLC,
13                        Defendant.
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                                                                           Davis Wright Tremaine LLP
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                 Case 3:19-cv-05007-RSM Document 85 Filed 10/02/20 Page 2 of 3



 1                                               JOINT STATUS REPORT
 2           Pursuant to LCR 16, Defendant Comcast Cable Communications, LLC and Plaintiff Douglas

 3   Lacy (“Plaintiff”), by and through their respective counsel of record, respectfully submit this joint status

 4   report in light of the recent reassignment of this action to the Hon. Chief Judge Ricardo S. Martinez.

 5           Just prior to the reassignment of this action, the Court (Leighton, J.) issued an order denying

 6   Comcast’s motion to continue the stay of this action1 pending the Supreme Court’s decision in Facebook

 7   Inc. v. Duguid, No. 19-511, cert. granted (U.S. July 9, 2020). See Stay Order, Dkt. No. 82 (August 13,

 8   2020). The parties have conferred and are continuing to meet and confer regarding case management in

 9   light of the Stay Order and respectfully request fourteen (14) days to submit to the Court a further joint

10   status report with a joint proposal or competing proposals for a revised case schedule (Dkt. 53).

11
12   Dated: September 2, 2020                                          Respectfully submitted,

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27           1
                This action was initially stayed by Order of the Court (Leighton, J.) on April 28, 2020. See Dkt. No. 70. And the
     dates set forth in this Court’s prior Minute Order Setting Pre-Certification Deadlines (Dkt. No. 53) thus became moot.

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              Case 3:19-cv-05007-RSM Document 85 Filed 10/02/20 Page 3 of 3



 1                                                   ORDER
 2          IT IS HEREBY ORDERED that, within fourteen (14) days of this ORDER, the parties shall

 3   submit a Further Joint Status Report. The Further Joint Status Report shall contain either a joint proposed

 4   revised case management schedule or competing proposals for such schedule.

 5          IT IS SO ORDERED.

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 7   Dated: October 2, 2020.
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                                                   RICARDO S. MARTINEZ
11                                                 CHIEF UNITED STATES DISTRICT JUDGE

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